                          UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION


 LATOYA BROWN; LAWRENCE BLACKMON;
 HERBERT ANTHONY GREEN; KHADAFY
 MANNING; QUINNETTA MANNING; MARVIN
 MCFIELD; NICHOLAS SINGLETON; STEVEN
 SMITH; BESSIE THOMAS; and BETTY JEAN
 WILLIAMS TUCKER, individually and on behalf of a                 Civil Action No.
 class of all others similarly situated,                          3:17-cv-00347-CWR-LRA

                        Plaintiffs,

                v.

 MADISON COUNTY, MISSISSIPPI; SHERIFF
 RANDALL S. TUCKER, in his official capacity; and
 MADISON COUNTY SHERIFF’S DEPUTIES JOHN
 DOES #1 through #6, in their individual capacities,

                        Defendants.



                  PLAINTIFFS’ RESPONSE IN OPPOSITION TO
            DEFENDANTS’ MOTION FOR A SETTLEMENT CONFERENCE


       Plaintiffs Latoya Brown, Lawrence Blackmon, Khadafy Manning, Quinnetta Manning,

Nicholas Singleton, Steven Smith, Bessie Thomas, and Betty Jean Williams Tucker (“Plaintiffs”)

respectfully submit this Response in opposition to Defendants’ Motion For a Settlement

Conference (ECF No. 349) (“Motion”) in this civil rights action brought against defendants

Madison County, Mississippi (“Madison County”) and Sheriff Randall Tucker, sued herein in his

official capacity (“Sheriff Tucker,” and with Madison County, “Defendants”).

       1.      Defendants’ request that the Court order a settlement conference over Plaintiffs’

objection, and in the absence of any grounds for believing that such a conference would be

productive, is unsupported by the facts and the law and should be denied. Plaintiffs’ class claims
seek class-wide declaratory and injunctive relief—not individual money damages—against

policing practices that violate the Fourth and Fourteenth Amendments. Defendants have not

demonstrated any willingness to engage with Plaintiffs regarding the injunctive relief they seek

in this action. Each party has unequivocally rejected the other’s settlement proposal. Unless

Defendants are willing to engage in negotiations around meaningful reforms to the policing

practices challenged by Plaintiffs, there is no basis for holding a settlement conference at this

time.

        2.     Courts regularly decline to impose settlement conferences over a party’s

objection. In the rare cases in which courts have scheduled settlement conferences at the request

of just one party, it is where the parties have already demonstrated substantial progress towards

settlement. That is not the case here, and Defendants do not argue to the contrary. Rather, the

parties, in Defendants’ own words, are at best “at the outset of any settlement effort.”

        3.     Defendants’ argument that they will have to continue to expend resources

litigating the case absent settlement is not proper grounds for ordering a settlement conference.

Furthermore, it is Defendants who have vastly proliferated motion practice in this case, having

filed sixteen of the eighteen motions that were dismissed or denied as moot in Judge Barbour’s

January 4 Order (ECF No. 340). Any burdens on Defendants are thus of their own making, and

there is no unfairness to Defendants in holding them to the consequences of their own strategic

decisions. Moreover, Defendants overstate the burden they face in responding to Plaintiffs’

renewed motion for class certification, which raises substantially the same arguments as

Plaintiffs’ prior motion and relies on the same evidence.

        4.     Finally, Defendants’ argument that the procedural posture of this case makes it

ripe for settlement is without merit. In fact, very little has changed in this already two-year-old




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case, which remains in its early stages. Plaintiffs have filed revised papers as required by court

order, and the case has been assigned to a new District Judge. Neither circumstance suggests

that a settlement conference is appropriate, particularly in the absence of any indication that

Defendants are actually willing to substantively engage in settlement discussions focused on the

meaningful reforms Plaintiffs seek.

        5.     In support of this Response, Plaintiffs also submit the accompanying

Memorandum of Law, which is incorporated herein as if set forth in full. Because Defendants’

Motion For a Settlement Conference (ECF No. 347) raises issues that are interrelated with the

issues presented by Defendants’ Motion For a Temporary Stay (ECF No. 349), and because the

two motions seek complementary relief, Plaintiffs respond to both motions via a single,

consolidated memorandum of law.

        6.     In support of this Response, Plaintiffs also submit the exhibits listed below.

These same exhibits also support Plaintiffs’ Response to Defendants’ Motion For a Temporary

Stay.


         1.     Exhibit 1:     Letter from Jonathan Youngwood to Judge Reeves (Jan. 22,
                               2019)

         2.     Exhibit 2:     Letter from Jonathan Youngwood to Judge Reeves (Feb. 5, 2019)

         3.     Exhibit 3:     Order, RMH Tech LLC v. PMC Industries, Inc., No. 16-cv-
                               01762-CMA-KMT (D. Col. Jan. 10, 2018)



        WHEREFORE, for the reasons set forth herein, Defendants’ Motion For a Settlement

Conference should be denied.


Respectfully submitted on this 19th day of February, 2019.




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                                        By: /s/ Joshua Tom     _________
                                            Joshua Tom

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                               CERTIFICATE OF SERVICE

       I hereby certify that on February 19, 2019, I caused the foregoing RESPONSE IN

OPPOSITION TO DEFENDANTS’ MOTION FOR A SETTLEMENT CONFERENCE to

be electronically filed with the Clerk of the Court using the CM/ECF system, through which

copies have been served to:


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                                           /s/ Joshua Tom
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